             Case 4:05-cr-40028-JPG                     Document 76       Filed 11/22/05           Page 1 of 6         Page ID #144

*A0 2458     (Rev. 06105) Judgment in a Criminal Case
             Sheet 1




                                                  Southern District of Illinois
         W E D STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                             v.
                                                                        Case Number:                      4:05CR40028-002-JPG
                  LAURABERBER
                                                                        USM Number:                       06686-025
                                                                        John Clemons
                                                                        Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        1, 7 and 8 of the Superseding Indictment.

0 pleaded nolo contendere to count(s)
-
  which was accepted by the court.
0 was found guilty on count(s)
-
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                       Offense Ended             Count
21 U.S.C. 846                     Conspiracy to Distribute 50 Grams of More of Cocaine Base               04/20/2005         1s
21 U.S.C. 841(a)(l)               Possession With Intent to Distribute 50 Grams of More of                04120/2005         7s
                                  Cocaine Base
21 U.S.C. 841(a)(l)               Possession With Intent to Distribute 500 Grams or More of               04120/2005         8s
                                  Methamphetamine

       The defendant is sentenced as provided in pages 2 through
the Sentencing Reform Act of 1984.
                                                                           ,!$         of this judgment. The sentence is imposed pursuant to


- The defendant has been found not guilty on count(s)
0 Count(s)
-                                                        0 is
                                                         -       g are dismissed on the motion of the United States.
         It IS ordered that the defendant must noti* the r:nucJ Statcs attorney for t h ~ district
                                                                                          s        w~thin30 da s of any change ofnamc, residen
or nwhng address until all fines, rcsntulion, costs. and ,pecial assessments impohed hy this judgment are fuhy paid. If ordcrcd to pay rcstirutio
the det2ndant must not~fythe coun and l'nitcd Statcs attorney of nlatcrral changcs in cconomtc ctrcumstances.




                                                                        J. Phil Gilbert, District Judge
                                                                        Name and Title of Judge
            Case 4:05-cr-40028-JPG                       Document 76               Filed 11/22/05              Page 2 of 6          Page ID #145

A 0 245B    (Rev. 06105) Judgment in Criminal Case
            Sheet 2 -Imprisonment
                                                                                                                  Judgment - Page         of   (2
DEFENDANT:                      LAURA BERBER
CASE NUMBER:                    4:05CR40028402-JPG


                                                                  IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to he imprisoned for a
total term of:

210 months on Counts 1.7 and 8 of the Superseding Indicfment. All Counts to run concurent with each other.




     I3
     -      The court makes the following recommendations to the Bureau of Prisons:




     C3
     -      The defendant is remanded to the custody of the United States Marshal.

     -
     13     The defendant shall surrender to the United States Marshal for this district:
            0 at
            -                                         0 a.m.
                                                      -                    p.m.      on
            0 as notified by the United States Marshal.
            -

     - The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons
            0 before 2 p.m. on
            -
            I3 as notified by the United States Marshal.
            -
            0 as notified by the Probation or Pretrial Services Office.
            -



                                                                         RETURN
I have executed this judgment as follows:




            Defendant delivered                                                                    to

a                                                         , with a certified copy of this judgment.



                                                                                                                UNITED STATES MARSHAL


                                                                                  BY
                                                                                                             DEPUTY UNITED STATES MARSHAL
               Case 4:05-cr-40028-JPG                    Document 76         Filed 11/22/05           Page 3 of 6          Page ID #146

A 0 2458      (Rev. 06105) Judgment in a Criminal Case
              Sheet 3 - Supervised Release                                                                                   -
                                                                                                           Judgment-Page   2Of @
DEFENDANT:                     LAURA BERBER
CASE NUMBER:                   4:05CR40028-002-PG
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :

5 years on Counts 1 , 7 and 8 of the Superseding Indictment. All Count to run concurrent with each other.



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from th
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
'I he drfcndant shall not unlawhlly posess a controlled substance. The defendant shall refratn from any unlawful use of,a c,onuolled
substance. l'he defendant shall submtt to one drug test within 15 days of release from imprtsonmcnt and at least two penod~cdrug tests
thcreaftcr, as detemuned by the court
     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
     future substance abuse. (Check if applicable.)
     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
     The defendant shall cooperate in the collection of DNA as directed by the probation officer, (Check, if applicable.)
     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
     student, as directed by the probation officer. (Check if applicable.)
     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule ofl~aymentssheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional condition
on the attached page.
                                                    STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;
           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days
           each month,
           the defendant shall answer !ruthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or 0th
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from exccsbi\e use of alcohol and shall not purchase, possess, use, d~shibute,or admintster any
           controlled substance or any paraphernalra related to any controlled substances, except as pressr~bedby a physsian;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
           the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of
           felony, unless granted permission to do so by the pro%ationofficer;
           the defendant shall pemut a probation otliier to vtstt him or her at any time at home or elsewhere and shall pemut contiscatton of an
           contraband obsen.ed in plam view of the probat~onotiiicr:
           the defendant shall notify the probation officer within seventy-two haws of being arrested or questioned by a law enforcement office
           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without th
           permission of the court; and
           as dlrected by the rohahon officer, the defendant shall nottfy thud partles of rtsks that may be occasioned by the defendant's c n m
                               ?
           record or persona history or character~~tics  and shall pemut the probation oFficer to make buch notifications and to confirm th
           defendant's compliance G t h such notification requiremht.
            Case 4:05-cr-40028-JPG                         Document 76   Filed 11/22/05   Page 4 of 6         Page ID #147

A 0 2458        (Rev. 06105) Judgment in a Criminal Case
                Sheet 3C - Supervised Release
                                                                                              Judgment-Page          of   .LO
DEFENDANT:                      LAURA BERBER
CASE NUMBER:                    4:05CR40028-002-JPG

                                              SPECIAL CONDITIONS OF SUPERVISION
                                        ;                      r
      'The defendant shall pa any financial pcnalt that 1s imposed b t h s jud ment and that remains unpaid at the
                                                                             7
commencement of the term o suuerv~sedrelease. he defendant shal uav- the fine in installments of $10.00 per month or te
      ~    ~~




percent of her net monthly incoke, whichever is greater.
                                                                                 &




  The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
with access to any requested financial information. The defendant is advised that the probation office may share financial
information with the Financial Litigation Unit.
  'The defendant shall appl all monle\ recc~vedfrom Income tax refunds, lottery wlnnlngs, jud
                                 .    .':
antic~patedor unexpected lnanc~al  yam,   to the outstandmr, court-ordered financial obligation.
immeaiately notify-the probation officer of the receipt of any indicated monies.
  The defendant shall articipate as directed and approved by the probation officer in treatment for narcotic addiction, drug
                              7
dependence, or alcoho dependence, which includes urinalysis or other drug detection measures and which may require
residence andlor partici ation in a residential treatment facility. Any participation will require complete abstinence from all
alcoholic beverages. d e defendant shall pay for the costs associated with substance abuse counselrng andlor testing based
on a co-pay sliding fee scale approved by the United States probation Office. Co-pay shall never exceed the total costs of
counselmg.
  The defendant shall partici ate in a program of mental health treatment, as directed by the probation officer, until such tim
as the defendant is released f! om the program by the probation officer.
A 0 2458



DEFENDANT:
            Case 4:05-cr-40028-JPG

           (Rev. 06105) Judgment in a Criminal Case
           Sheet 5 -Criminal Monetaty Penalties



CASE NUMBER:
                                   LAURABERBER
                                   4:05CR40028-002-JPG
                                                        Document 76




                                               CRIMINAL MONETARY PENALTIES
                                                                             Filed 11/22/05          Page 5 of 6



                                                                                                      Judgment -Page   -    Page ID #148



                                                                                                                                 of   0




     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6

                     Assessment                                                                               Restitution
TOTALS             $ 300.00                                                                               $ -a-



Ui The determination of restitution is deferred until -
-                                                      . An Amended Judgment in a Criminal Case(A0245C) will he enteI
     after such determination.

0
-    The defendant must make restitution (including community restitution) to the following payees in the amount listed below

     If the defendant makes a partial payment, each pa ee shall receive an approximatel ro ortioned ayment, unless specified otherwise
     the priority order or percentage payment column Eelow. However, pursuant to 1 8 g ~ . 8$. 36640, all nonfederal victims must be p
     before the Umted States 1s paid.

Name of Pavee                                  Total Loss*                       Restitution Ordered                   Priority o r Percentaee




TOTALS                               $                          0           $                             0


-
0     Restitution amount ordered pursuant to plea agreement $

0
-     The defendant must pay interest on restitution and a line of more than $2,500, unless the restitution or line is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. g 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

-     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      -    the interest requirement is waived for the          fme              restitution.
      0
      -    the interest requirement for the           g fine        restitution is modified as follows:
            Case 4:05-cr-40028-JPG                     Document 76         Filed 11/22/05          Page 6 of 6          Page ID #149

A 0 2458   (Rev. 06105) Judgment in a Criminal Case
           Sheet 6 -Schedule of Payments
                                                                                                       ~udgment- Page             of        (2
DEFENDANT:                  LAURA BERBER
CASE NUMBER:                4:05CR40028-002-JPG

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A          Lump sum payment of $                             due immediately, balance due

           -
           0     not later than                                  , or
           -     in accordance                C,      1 D,   o    E, or     o F below; or
B     o    Payment to begin immediately (may be combined with             g C,      -
                                                                                    0 D, or     12 F below); or
C     o    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D     g Payment inequal                        (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     o    Payment dwing the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     -    Special instructions regarding the payment of criminal monetary penalties:
           Payments are due immediately, through the Clerk of the Court but may be paid from prison earnings in compliance with the
           Inmate Financial Responsibil~. Program. An fmanclal penakles that remam unpa~dat the commencement oft& term of
                                             2
           supewised release shall be pal at the rate of $10.00 per month, or 10 % of defendant's monthly net earnings, wluchever is
           greater.



Unless the court has expressl ordered ochennsc, ifthtsjudgnlent imposes imprisonment, a cnt ofcnminal monetary penalties is due dwin
                               Y
mprtsonment. All cnmna moneta penalties, except thohe payments made througR t c ~ c d c r a lRurcau of Prisons' Inmate Financi
Rcspons~bllityProgram, arc made to x e clerk ofthc court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed



rn    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




-
0     The defendant shall pay the cost of prosecution.

-
0     The defendant shall pay the following court cost(s):

-
0     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) f i e interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
